IN THE UNITED STATES DISTRICT COURT
FOR TI~IE DISTRICT OF COLORADO

Civ§lAc§§on NO. 05 "C' \/'10€0 »C>L;g
(To be supplied by the court)

 

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V.

 

 

 

 

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§§ FL,§_LL€§Q ,

 

 

 

(List each named defendant on a separate line.)

, Defendant(s).

UNITED STATES D|STR[CT C
DENVER, COLORADO OURT

.!L UN 2 9 2005

GF?.EGGHY C. LANGHAM
CLERK

 

PRISONER COMPLAD*~TT

 

(Rev. 9/02/04)

 

 

A. PARTIES

 

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(Pla`mtit`t"`s name, prisoner identification nu`niber, and complete mailing address) f
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2-`_\"; 3 1\/\ C.`aa=e@\oe\/ l v\/»o. sale ti eng § a c il 51 v
(N'-a'ine, title§' and address ot first defendant) 1
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Aela eng entirely d-e+emt t o m trace 1 111'\£1'
At the time the claim(s) alleged in this complaint arose, Was this defendant acting under
color of state law? 54 Yes _ No (CHECK ONE). Brietly explain your answer:

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"" (Name, title, and address of' second defendant) .
Q.Cl/n t't"i 5 C BU"D -"1 \i/’ 519 -1=€¢'1‘~1- 10 rig -Cnr‘ 111 '~1&/

At the time the claim(s) alleged in"this complaint arose, was this defendant acting uiider

color of state law? -_/__ Yes ___-No (CHECK ONE). Brietly explain your answer: l _ md
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(Name, title, arld address of third defendant)

 

At the time the claim(s) alleged in this complaint arose, Was this defendant acting under
color of state law? __ Yes __ No (CHECK ONE). Briefly explain your answer:

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!\1: /a

(If you are suing more than three defendants, use extra paper to provide the information
requested above for each additional defendant The information about additional defendants
should be labeled “A. PARTIES. ”)

(Rev. 9102/04) , 2

 

 

1). CAUSE on ACTION

State concisely1 every claim that you Wish to assert in this action For each claim, specify the
right that allegedly has been violated and state all supporting facts that you consider important,
including the date(s) on Which the incident(s) occurred, the name(s) of the specific person(s)
involved in each claim, and the specific facts that show how each person Was involved in each
claim. You do not need to cite specific cases to support your claim(s). lf additional space is
needed to describe any claim or to assert more than three claims, use extra paper to continue
that claim or to assert the additional claim(s). The additional pages regarding the cause of
action should be labeled “D. CAUSE OF ACTION. ”

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G. REQUEST FOR RELIEF

State the relief you are requesting lf you need more space to complete this section use extra

paper The addihonal requests for relief should be labeled‘ ‘.G REQUEST POR RELIEF.”
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DECLARATION UNDER PENALTY OF PERJURY

l declare under penalty of perjury that l am the plaintiff 111 this action, that l have read
this complamt and that the mforrriatiorl 111 this complaint is true and correct See 28 U. S. C.

§1'746;18U...SC_§1621.

EXecuted on 49 - 9_5 » 05

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circumstances ofthe act, omission or cven_you are complaining ot`. _ `SO 441 l464 05 090-wl

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5_) Erive a concise statement ofthe nature and extent of thc injury claimed to have been suffered

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6.] State c amount of damages you mill be suing eacli)person for. _

 

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is against any other public entity or an employee thereofj the notice shall he presented to _the governing body of the
..“1~11'.~ pva-sw m the attorney representing the pnb]ic entity.

 

 

ADAMS CGUNTY SHERIFF’S OFFICE
Inmate Classificafion Neec!s Assessmeiz:

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$pecialist

¢f;’r‘ Dat@

Booking Number

]QS/ ,.

 

 

Health

l Limited physical capacity
acute illness, needs
hospitalization or note
patient treatment

Emotional Stability

1 Severe impairment;

danger to self, others,
needs hospital
environment

Education

l 5th Grade or below
reading, math skille,
needs remedial or special
education classes

Interpersonal Skills

l Legal Problems relat` o
Domestic Violence garenting
Skills

Substance Abuee

l Freguent abuse resulting
in social,r economic or
legal problems, needs
treatment
Alcoholflllegal Suhstance

Mental Ability

l Serious disability
limiting ability to
function; needs sheltered

living, work situations

Religion Preference

Sex Offender:

Priority codes:

pi

g>c

L\w

Mild disability or illnessr
outpatient treatment
reguired; non~strenuous
work

Moderate impairment
requires monitoringr
individual or group
therapy

No H.S. diploma, needs
adult education or GED

. program
Legal Probl peg lting to
Anger or St:$s ssues

Occasional abuse causing
disruption of functioning
Alcohol/Iilegal Substance

Mild disability limiting
educational/vocational
potential

)”Yi ,w/if/~W

registered or current Yes z§§

1 - Urgent, immediate need

2 - Problen directly related to criminal behavior, high
3 ~ Problem resolution would enhance ability to succeed in community

norm mm {03/02)

aasz

‘o p ohlems which
f 'limit housing or

work assignment

otionally stable
; indications of

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3 Marketable Uob
Skills/Trade

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ADAMS COUNTY SHERIFF’S OFFICE
Inmate Classificafion Needs Assessment

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lnmate Name

 

Specialist

Health

1 Limited physical capacity
acute illness, needs
hospitalization or note
patient treatment

Emotional Stability

l Severe impairment;
danger to self, others,
needs hospital
environment

Education

1 5th Grade or below
reading, math skills,
needs remedial or special
education classes

Interpersonal Skills

1 Legal Problems re a g to
Domestic_Violen Parenting
Skills

Substence Abuse

1 Frequent abuse resulting
in social, economic or
legal problems, needs
treatment
Alcohol/Illegal Substance

Mental Ability

1 Serious disability
limiting ability to
function; needs sheltered

living; work situations

Religion Preference

Sex Offender:

Priority codes:

gz§é" 1/

ild disability or illness,
utpatient treatment
reguired; non-strenuous
work

2 Moderate impairment
requires monitoring,
individual or group
therapy '

2 No H.S. diploma, needs
adult education or GED
program '

2 Legal Problem SY;pting to
Anger or Str sues

2 Occasional abuse causing
disruption of functioning
Alcohol/lllegal Suhstanoe

2 Mild disability limiting
educational/vocational
potential

1110/nw

registered or current fee

l - Urgent, immediate need

3 N `oblems which
limit housing or
work assignment

'3 motionally stable
6 o indications of

mental illness

<::Zigi School
diploma, GED,

or egu :W:

3 Marketable Job
Skills/Trade

o disruption of
functioning or
_ ~,-. _;_- -'

dirficulties

'“ o discernible
disability

2 - Prohlem directly related to criminal behevior, high priority
3 - Prcblem resolution would enhance ability to succeed in community

Forrn 4217A (081'021

 

 

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_ __(~_@_z®@\( "' "“""‘ " I11mate Request Form¢(Kite) M_§___;_ _@71”_____

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(Print Full Name)

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Respondent’ s Signature and Title j/;""/" ///, /y/{.(j . ice o faa / _}`.`§ /7/4

Imnate’sName W )Lé/M,~€.A Date/Tims 1

 

 

 

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Yellow: Inmate (Upon Receipt of Completed Kit`e) 5 § § w \_ §§ 15 § @_ § i`
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ADAMS COUNTY DETENTION FA CILITY / S/SS / 05
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)' Deputy _S Slgnatur"e ,W M/j/ f 5 ja /_/ ` 7 Date/Time Received\; `C?)'O;Z §/"`5_5

 

 

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_ Respondent"$ Signatu.re and Titie '

 

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_ Respondent’s Signature and Title

 

 

§ lnmate’S Name

 

(Acknowledgnent of Response)

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Yellow: Inmate (Upon Receipt of Completed Kite) -
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Form 4273 (07."00}

 

     
  

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